      Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                Page 1 of 48 PageID 5



                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION

 BRUCE MCCOY,                                   §
                                                §
           Plaintiff,                           §
                                                §                CIVIL ACTION NO. 4:21-CV-979
 v.                                             §
                                                §                      Jury Demand
 GENERAL MOTORS LLC and                         §
 ED MORSE AUTOMOTIVE LLC,                       §
                                                §
           Defendants.                          §

                                 INDEX OF STATE COURT DOCUMENTS

 DOCUMENT                                                             DATE

      Plaintiff’s Original Petition with Attached Requests for        May 5, 2021
      Disclosure to Defendant

 2. Citation to GM LLC                                                May 5, 2021

 3. Citation to Ed Morse Automotive LLC                               May 5, 2021

 4. Return of Citation for Ed Morse Automotive LLC                    June 2, 2021

 5. Return of Citation for GM LLC                                     June 9, 2021

 6. GM LLC’s Objections, Special Exceptions, and                      June 18, 2021
    Original Answer

 7. Ed Morse Automotive LLC’s Original Answer                         June 21, 2021

 8. Plaintiff’s First Amended Petition with Attached                  July 20, 2021
    Requests for Disclosure to Defendant

 9. Motion for Withdrawal and Substitution of Counsel                  July 21, 2021

 10. Proposed Order Granting Motion for Withdrawal and                 July 21, 2021
     Substitution of Counsel

       Executed Order Granting Motion for Withdrawal and               July 22, 2021
       Substitution of Counsel



INDEX OF STATE COURT DOCUMENTS                                                          PAGE 1
106069.001371 4837-2266-1879.1
    Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21   Page 2 of 48 PageID 6



 12. Court Docket Sheet




INDEX OF STATE COURT DOCUMENTS                                           PAGE 2
106069.001371 4837-2266-1879.1
  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21    Page 3 of 48 PageID 7
                                      096-325062-21


May 4, 2021

ATTN: Clerk of Court                          Rc[ A+BEHA
Tarrant County Civil Courthouse
Tom Vandergriff Civil Courts Building, 100 Calhoun St,
Fort Worth, Texas 76196

RE:
       Bruce McCoy v. General Motors LLC., and Ed Morse Automotive
LLC.

Dear Court Clerk:

Enclosed is a copy of the plaintiff’s original petition.

Please issue the citations to constable for service and return a
file marked copy via email of the original petition,

Please provide me copies of the citation that will be issued to
the constable for my records.

Should you have any questions please do not hesitate to contact
me. Thank you for your attention to this matter.

Sincerely,




 Attorney Arnesia B. Davis
 The Law Office of Arnesia B. Davis
 P.O. Box 1493
 DeSoto, Texas 75115
 Tel: 833.273.8478 Ext. 1
 Facsimile: 833.273.8478
 Email: a.davis@areuhrt.com
      Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21              Page 4 of 48 PageID 8
                                                                                                       FILED
                                                                                          TARRANT COUNTY
                                                                                            5/5/2021 9:41 AM
                                                                                         THOMAS A. WILDER
                                              096-325062-21                                 DISTRICT CLERK
                                Cause No.


BRUCE MCCOY,                                   §              IN THE DISTRICT COURT
Plaintiff                                      §
                                               §
vs.                                            §              TARRANT COUNTY,
                                               §              TEXAS
                                               §
GENERAL MOTORS LLC., and                       §                      JUDICIAL DISTRICT
ED MORSE AUTOMOTIVE LLC.                       §
Defendants                                     §



                 PLAINTIFF’S ORIGINAL PETITION WITH ATTACHED
                    REQUESTS FOR DISCLOSURE TO DEFENDANT




TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES BRUCE MCCOY, hereinafter called Plaintiff, complaining of and about

GENERAL MOTORS and ED MORSE AUTOMOTIVE LLC., hereinafter called Defendants,

and for cause of action shows unto the Court the following:


                                        I.
                           DISCOVERY CONTROL PLAN LEVEL

         Plaintiff intends that discovery be conducted under Discovery Level 2. Plaintiff intends

that discovery be conducted under Discovery Level 2 as dictated by Rule 190.3 Texas Rules of

Civil Procedure.

                                            II.
                                      PARTIES SERVICE

         Plaintiff BRUCE MCCOY is an individual residing in Dallas, County.




Original Petition                                                                                   1
   Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                  Page 5 of 48 PageID 9



       Defendants are GENERAL MOTORS LLC., may be served through their registered
                                             th
agent of service CT Corporation at 211 E. 7       Street, Suit 620 Austin, Texas 78701-4234

USA. ED MORSE AUTOMOTIVE LLC., may be served through their registered agent of

service CT Corporation at 1999 Bryan St. STE 900 Dallas, Texas 75201-3140 USA.



                                          III.
                                JURISDICTION AND VENUE



       The subject matter in controversy is within the jurisdictional limits of this court. Venue

in Tarrant County is proper in this cause under Section 15.002(a)(1) of the Texas Civil Practice

and Remedies Code because all the events giving rise to this claim occurred in Tarrant County.



                                               IV.
                                              FACTS


       At approximately 3:47 a.m. on May 5, 2019, BRUCE MCCOY was driving Southbound

in the 7500 Block of S HWY 360 in the #2 lane when the vehicle’s ECM and the Transmissions

Accumulator Bolts malfunctioned, causing him to suddenly lose control of his vehicle and

collide with the guard rail on the East side of the highway. The impact was so severe that it

caused the Plaintiff to blackout from the severe collision into the guardrail.



                                           V.
                                    PROPERTY DAMAGE

       The property damage to the vehicle the Plaintiff was driving was so extensive that it had

to be towed from the scene.




Original Petition                                                                                   2
  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                   Page 6 of 48 PageID 10



                              VI.
LIABILITY OF GENERAL MOTORS LLC., AND ED MORSE AUTOMOTIVE LLC.


       GENERAL MOTORS LLC., and ED MORSE AUTOMOTIVE LLC., are liable to the

Plaintiff due to the fact that they placed a defective vehicle in the chain of

commerce. GENERAL MOTORS LLC., and ED MORSE AUTOMOTIVE LLC., caused this

catastrophic incident due to the following acts:


                    a. Intentionally placing a defective vehicle into the chain of commerce;

                    b. Failing to properly notify the plaintiff of defective vehicle;

                    c. Failing to timely issue a recall when, they had knowledge of such defect.



                                              VII.
                                            DAMAGES

       As a result of the malfunction, Plaintiff has suffered injury including the following:

                    a. Lost Wages, including lost benefits;

                    b. Physical Pain in the past;

                    c. Physical Pain in the future;

                    d. Mental Anguish in the past;

                    e. Mental Anguish in the future;

                    f. Physical Impairment in the past and future;

                    g. Disfigurement;

                    h. Medical Expense in the Past;

                    i. Medical Expense in the Future;

                    j.   Prejudgment Interest;

                    k. Post judgment Interest;


Original Petition                                                                                  3
  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                 Page 7 of 48 PageID 11



                    l. Costs of Court.



                                             VIII.
                                         JURY DEMAND

       Plaintiff herein demands a trial by jury.



                                                 IX.
                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final

hearing hereof, Plaintiff have:


                        Judgment against Defendants for the actual and special damages suffered
                       by Plaintiff as a result of Defendants’ conduct, in an amount in excess of
                        the minimum jurisdictional limits of the Court;
                    2. Cost of Suit;

                    3. Prejudgment and Post Judgment interest as provided by law;

                    4. Such other further relief to which Plaintiff may show

                    himself justly entitled.



                                  REQUEST FOR DISCLOSURE

TO DEFENDANTS: GENERAL MOTORS LLC., and ED MORSE AUTOMOTIVE
LLC.: Pursuant to Rule 194, you are requested to disclose, within 50 days of service of this
request, the information or materials described in Rule 194.2.




Original Petition                                                                                   4
  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21    Page 8 of 48 PageID 12



SIGNED on May 4, 2021

                                         Respectfully submitted,

                                         /s/ Arnesia B. Davis
                                         Arnesia B. Davis
                                         State Bar No. 24096363
                                         a.davis@areuhrt.com

                                         ARNESIA B. DAVIS, PLLC.
                                         P.O. Box 1493
                                         DeSoto, Texas 75115
                                         Telephone (833) 273-8478
                                         Facsimile (833) 273-8478

                                         ATTORNEY FOR PLAINTIFF




Original Petition                                                              5
                      Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21 Page 9 of 48 PageID 13
                                                  THE STATE OF TEXAS
                                           DISTRICT COURT, TARRANT COUNTY
                                                                                                            CITATION                                                   Cause No. 096-325062-21
                                                                        BRUCE MCCOY
                                                                                 VS.
                                                               GENERAL MOTORS LLC., ET AL

    TO: GENERAL MOTORS LLC
                                                                                                  B/S REG AGENT-CT CORPORATION 211 E 7TH ST STE 620 AUSTIN, TX 78701-4234




   You said DEFENDANTS are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION WITH
   ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT at or before 10 o'clock A.M. of the Monday next after
   the expiration of 20 days after the date of service hereof before the 96th District Court
   ,100 N CALHOUN, in and for Tarrant County, Texas, at the Courthouse in the City of Fort Worth, Tarrant County, Texas
   said PLAINTIFF being


   BRUCE MCCOY


   Filed in said Court on May 5th, 2021 Against
   GENERAL MOTORS LLC, ED MORSE AUTOMOTIVE LLC


   For suit, said suit being numbered 096-325062-21 the nature of which demand is as shown on said
   PLAINTIFF'S ORIGINAL PETITION WITH ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT                                                                      a copy of which accompanies this
   citation.


                                  ARNESIA B DAVIS
                     Attorney for BRUCE MCCOY Phone No. (833)273-8478
                     Address      PO BOX 1493 DESOTO, TX 75115
                  Thomas A. Wilder                            , Clerk of the District Court of Tarrant County, Texas. Given under my hand and the seal
   of said Court, at office in the City of Fort Worth, this the 6th day of May, 2021.


                                                                                                    By                                                                                          Deputy
                                                                                                                                        NATALIE THIGPEN
NOTICE: You haw been smd. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this citmion by 10:00 AM. on the Monday next following the expiration of

twenry days alter you were served this citathon and pedduo, a default judgment may be taken against yoa. In addidon m filing a written answer with the clerk, yoa may h requinid to make inidal disclosurts

to the other panics of this suit. These disclosures generally must be made no later than 30 days after you file yoar answer with the clerk.   Find at mom at TexasLawIlelp.org.
                    Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

                                                                   OFFICER'S RETURN *09632506221000004*
   Received this Citation on the                                                                                                                      at              o'clock _M; and executed at
                                                                         within the county of                                                   , State of
   on the                        day of                                                      by delivering to the within named (Def.):
   defendant(s), a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION WITH
   ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT, having first endorsed on same the date of delivery.



                         Authorized Person/Constable/Sheriff:
                         County of
    Fees $
   State of                                        County of                                                                      (Must be verified if served outside the State of Texas)
   Signed and sworn to by the said                                                                                                   before me this
    to certify which witness my hand and seal of office


                                                                                  County of                                                       State of
                                                               CITATION
                                                        Cause No. 096-325062-21
Page 10 of 48 PageID 14




                                                   BRUCE MCCOY
                                                             VS.
                                                   GENERAL MOTORS LLC., ET AL
                                                          ISSUED
                                     This 6th day of May, 2021
Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21




                                                        Thomas A. Wilder
                                                   Tarrant County District Clerk
                                                         100 N CALHOUN
                                                   FORT WORTH TX 76196-0402
                                  By                       NATALIE THIGPEN Deputy
                              ARNESIA B DAVIS
                              Attorney for: BRUCE MCCOY
                              Phone No. (833)273-8478
                              ADDRESS: PO BOX 1493
                                                     DESOTO, TX 75115
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BY TARRANT COUNTY DISTRICT CLERK
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          Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                     Page 11 of 48 PageID 15
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                                                               CITATION
                                                        Cause No. 096-325062-21
Page 12 of 48 PageID 16




                                                   BRUCE MCCOY
                                                             VS.
                                                   GENERAL MOTORS LLC., ET AL
                                                         ISSUED
                              This 6th day of May, 2021
Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21




                                                        Thomas A. Wilder
                                                   Tarrant County District Clerk
                                                         100 N CALHOUN
                                                   FORT WORTH TX 76196-0402
                            By                             NATALIE THIGPEN Deputy
                         ARNESIA B DAVIS
                         Attorney for: BRUCE MCCOY
                         Phone No. (833)273-8478
                         ADDRESS: PO BOX 1493
                                                      DESOTO, TX 75115
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               Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                                                     Page 13 of 48 PageID 17

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                                                                          B/S REG AGENT-CT CORPORATION 1999 BRYAN ST STE 900                                          , Tr4S201(p16
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   You said DEFENDANTS are hereby cortenznded to appear by filing a written answer to the PLAINTIFP'S ORIGINAL PETIT  WITH
   ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT at or before 10 o'clock A.M. of the Monday next after
   the expiration of 20 days after the date of service hereof before the 96th District Court
   ,100 N CALHOUN, In and for Tarrant County, Texas, at the Courthouse in the City of Port Worth. Tarrant County. Texas
   said PLAINTIFF being
                                                                                                                                                                                 Cl
   BRUCE MCCOY                                                                                                                                                         N
                                                                                                                                                                                 (

   Filed in said Court on May 5th. 2021 Against                                                                                                                                    T71
                                                                                                                                                                        :71;
   CAJAN=H IKPKNO LLC, A@ NORSE =QPKIKPERA LLC                                                                                                        --
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   For suit, said suit being numbered 096-325062-21 the nature of which demand is as shown on said
   PLAINTIFF'S KNECEJ=H PETITION WITH ATTACHED REQUESTS BKN @EO?HKOQNA PK @ABAJ@=JP a copy of which accompanies tlipt
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           Thomas A. wilder          Clerk of the District Court of Tarrant County, Texas. Given under my                                             b[h^          and the seal
   of said Court, at office in the City of Fort Worth, this the 6th day of May, 2021.                                                                  ;'           AMRTIFKOCOPY
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   Received this Citation on the                                                                                   at             o'clock         M; and executed at
                                                                                                                                                                                         M
   on the                                   ,       by delivering to the within named (Def.);
   defendant(a), a true copy of this Citation together with the accompanying copy of PLAINTIFF'S KNECEJ=H PETITION                                                          SEPD
   ATTACHED REQUESTS FOR DISCLOSCRE TO DEFENDANT, having first _h^ilm_^ on a[g_ the date of delivery.

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   Fees $
   State of                                                                                                                     served outside the State of Texas)
   Signed and mqilh to by the said                                                                                 this           day of
   to certify which qcnh_mm gs hand and seal of office
   (Seal)
                                              County of
                CITAHON


         Cause No. 096-325062-21
   BRUCE MCCOY

              VS.
   GENERAL MOTORS LLC., El' AL

           ISSUED
  This 6th day of May. 2021

         Thomas A. Wilder
    Tarrant County District Clerk
          100 N CALHOUN
    FORT WORTH TX 76196-0402

  By        NATALIE THIGPEN Deputy


  ARNESIA B DAVIS
  Attorney for: BRUCE MCCOY
                                     Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21




  Phone No. (833)273-8478
  ADDRESS: PO BOX 1493

       DESOTO, TX 75115

       CIVIL LAW


G`cc` CCC HIG;
 0963250622100000S*
SERVICE FEES NOT COLLECTED
BY TARRANT COUNTY DISTRICT CLERK
                                     Page 14 of 48 PageID 18




ORIGINAL
          Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                     Page 15 of 48 PageID 19
                                          CONSTABLE'S RETURN

Style of Case:                           BRUCE MCCOY VS. GENERAL MOTORS LLC, ET AL

                                         day
 Came into hand, this             26      of                MAY                ,20                 , at

o'clock       A       M.    by executing and delivering a                CITATION                         issued out of the

state of          TEXAS            under cause number:            096-325062-21        , on the           26             day

of              MAY               20             , at             2.47               o'clock                   M., to:


                                                personally delivered/served true and correct copies of same.


                                                             pursuant to Rule 106/Rule 536, to an occupant:
                                                                                               over the age of 16 years.

                                                               pursuant to Rule 106/Rule 536, by securely attaching
and/or affixing to the                                                    of the defendant's last known place of

     business            abode.

                                                                                A Corporation 0 A Business
                    ED MORSE AUTOMOTIVE LLC

                                                             0 President 0 Vice-President             Registered Agent
Name:              CT CORPORATION SYSTEM
           By delivering to the defendant's registered agent for service, CT CORPORATION SYSTEMS,
through their authorized agent to accept service.             KIRK ATKINS SOP INTAKE
at 1999 BRYAN STREET SUITE 900 DALLAS, TEXAS 75201.

Service Address:                        1999 BRYAN STREET SUITE 900 DALLAS, TEXAS 75201


     RETURNED TO COURT AND/OR PLAINTIFF FOR THE FOLLOWING REASONS:




Service Fees: $       80.00                                                m
                                                            A Escamilla #119, DEPUTY CONSTABLE
                                                            TRACEY L. GULLEY, CONSTABLE
COUNTY OF DALLAS            §                               DALLAS COUNTY PRECINCT 1

STATE OF TEXAS              §


SIGNED AND SWORN BY SAID                                                    , before me, this
day of                                           to certify which, witness my hand and seal of office.




                                                        NOTARY PUBLIC-IN AND FOR THE STATE OF TEXAS
Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                  Page 16 of 48 PageID 20

                                                                                                     FILED
                                                                                        TARRANT COUNTY
                                                                                          5/5/2021 9:41 AM
                                                                                       THOMAS A. WILDER
                                           096-325062-21                                  DISTRICT CLERK
                              Cause No.


BRUCE MCCOY,                                                  IN THE DISTRICT COURT
Plaintiff

                                                              TARRANT COUNTY,
                                                              TEXAS

GENERAL MOTORS LLC., and                                            JUDICIAL DISTRICT
ED MORSE AUTOMOTIVE LLC.
Defendants



               PLAINTIFF'S ORIGINAL PETITION WITH ATTACHED
                  REQUESTS FOR DISCLOSURE TO DEFENDANT




TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES BRUCE MCCOY, hereinafter called Plaintiff, complaining of and about

GENERAL MOTORS and ED MORSE AUTOMOTIVE LLC., hereinafter called Defendants,

and for cause of action shows unto the Court the following:


                                      I.
                         DISCOVERY CONTROL PLAN LEVEL

       Plaintiff intends that discovery be conducted under Discovery Level 2. Plaintiff intends

that discovery be conducted under Discovery Level 2 as dictated by Rule 190.3 Texas Rules of

Civil Procedure.

                                           II.
                                     PARTIES SERVICE

       Plaintiff BRUCE MCCOY is an individual residing in Dallas, County.




Original Petition
                  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                                                                               Page 17 of 48 PageID 21
                                                                                     THE STATE OF TEXAS
                                                              , v-
                                                           \ft•               DISTRICT COURT, TARRANT COUNTY

                                                                                                          CITATION                                                  Cause No. 096-325062-21
                               (
                                   L\
                                                                         BRUCE MCCOY
                                                                                 VS.
                                                               GENERAL MOTORS LLC., ET AL

     TO: GENERAL MOTORS LLC
                                                                                                 B/S REG AGENT-CT CORPORATION 211 E 7TH ST STE 620 AUSTIN, TX 78701-4234




   You said DEFENDANTS are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION WITH
   ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT at or before 10 o'clock A.M. of the Monday next after
    the expiration of 20 days after the date of service hereof before the 96th District Court
   . 100 N CALHOUN, in and for Tarrant County, Texas, at the Courthouse in the City of Fort Worth, Tarrant Murky, Texas
    said PLAINTIFF being
                                                                                                                                                                                             C=D

    BRUCE MCCOY
                                                                                                                                                                                       17

   Filed in said Court on may 5th, 2021 Against                                                                                                                                                             )
   GENERAL MOTORS LLC, ED MORSE AUTOMOTIVE LLC
                                                                                                                                                                                        cl
    For suit, said suit being numbered 096-325062-21 the nature of which demand is as shown on said
    PLAINTIFF'S ORIGINAL PETITION WITH ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT                                                               a copy of which accompacys                          t
   citation.                                                                                                                                                                                             tJ,


                                   ARNESIA B DAVIS
                      Attorney for BRUCE MCCOY Phone No. (833)273-8478
                      Address     PO BOX 1493 DESOTO, TX 75115
                                                             . Clerk of the District Court of Tarrant County, Texas. Given under my hand and the seal
   of said Court, at office in the City of Fort worth, this the 6th day of May, 2021.
                                                                                                                                                                                                  A CERTIFIED COPY
                                                                                                                                                                                                 ATTEST: OS106/2021
                                                                                                                                                                                               : THOMAS A. WILDER
                                                                                                                                                                                                            CLERK
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                                                                                                                                                                                                                  TEXAS

                                                                                                                                       NATALIE THf6PEN                             •               •


NOTICE: You have teem sued. Yen may employ in attorney. If you or your attorney do not file a written nuwer with the clerk wbo issued this citation by 10:03 AM. on the Monday Den following die expiration of
twenty days after you were served this citation and retinal. a default Judy    may be taken against you. In addition so Sling a written      with the clerk. yew may be required to make Cain tEnlosures
to the other parties of this nth. Ttese disclostres generally must be nude oo later than 30 days sou you Me your answer with the clerk. Find cut more at. TeusLawHelp.org
                    Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

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   defendant(s), a true copy of                                  Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION WITH
    ATTACHED REQUESTS FOR DISCLOSURE TO DEFENDANT, having first endorsed on same the date of del



                         Authorized Person/Constable/                                                                                                                                  4717 Heflin Ln. #127
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   Signed and sworn to by the said                                                                                               before me this                     day of
   to certify which witness my hand and seal of office
   (Seal)
                                                                                County of                                                 , State of
                CITATION


        Cause No. 096-325062-21

  BRUCE MCCOY


             VS.

  GENERAL MOTORS LLC., ET AL


          ISSUED

 This 6th day of May, 2021

       Thomas A. Wilder
   Tarrant County District Clerk
         100 N CALHOUN
   FORT WORTH TX 76196-0402

 By         NATALIE THIGPEN Deputy


 ARNESIA B DAVIS
 Attorney for: BRUCE MCCOY
                                     Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21




 Phone No. (833)273-8478
 ADDRESS: PO BOX 1493

      DESOTO, TX 75115

      CIVIL LAW



*09632506221000004*
SERVICE FEES NOT COLLECTED
BY TARRANT COUNTY DISTRICT CLERK
                                     Page 18 of 48 PageID 22




ORIGINAL
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                                                                                                     FILED
                                                                                        TARRANT COUNTY
                                                                                          5/5/2021 9:41 AM
                                                                                       THOMAS A. WILDER
                                            096-325062 21                                 DISTRICT CLERK
                              Cause No.


BRUCE MCCOY,                                                  IN THE DISTRICT COURT
Plaintiff

VS.                                                           TARRANT COUNTY,
                                                              TEXAS

GENERAL MOTORS LLC., and                                            JUDICIAL DISTRICT
ED MORSE AUTOMOTIVE LLC.
Defendants



                PLAINTIFF'S ORIGINAL PETITION WITH ATTACHED
                   REQUESTS FOR DISCLOSURE TO DEFENDANT




TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES BRUCE MCCOY, hereinafter called Plaintiff, complaining of and about

GENERAL MOTORS and ED MORSE AUTOMOTIVE LLC., hereinafter called Defendants,

and for cause of action shows unto the Court the following:


                                      I.
                         DISCOVERY CONTROL PLAN LEVEL

       Plaintiff intends that discovery be conducted under Discovery Level 2. Plaintiff intends

that discovery be conducted under Discovery Level 2 as dictated by Rule 190.3 Texas Rules of

Civil Procedure.

                                          II.
                                    PARTIES SERVICE

       Plaintiff BRUCE MCCOY is an individual residing in Dallas, County.




Original Petition
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                                      CAUSE NO. 096-325062-21

 BRUCE MCCOY,                                    §                IN THE DISTRICT COURT OF
                                                 §
           Plaintiff,                            §
                                                 §
 v.                                              §
                                                 §                           TARRANT COUNTY
 GENERAL MOTORS LLC and                          §
 ED MORSE AUTOMOTIVE LLC,                        §
                                                 §
           Defendants.                           §                   96TH JUDICIAL DISTRICT

                           GENERAL MOTORS LLC’S OBJECTIONS,
                        SPECIAL EXCEPTIONS, AND ORIGINAL ANSWER

         Defendant General Motors LLC (“GM LLC”) files these Objections, Special Exceptions,

and Original Answer to Plaintiff’s Original Petition with Attached Requests for Disclosure (the

“Petition”) and would respectfully show the Court as follows:

                                                     I.
                                 OBJECTIONS AND SPECIAL EXCEPTIONS

         1.        GM LLC objects and specially excepts to the Petition because it fails to specify the

maximum amount of damages claimed. Pursuant to Texas Rule of Civil Procedure 47, GM LLC

hereby requests the Court require Plaintiff to replead, specifying the maximum amount of damages

claimed. Per Rule 47, Plaintiff may not conduct discovery until his pleading is amended to comply.

See TEX. R. CIV. P. 47(d).

                                          II.
      SUBJECT TO OBJECTIONS AND SPECIAL EXCEPTIONS, GM LLC’S GENERAL DENIAL

         2.        With the exception of admitting the terms and existence of applicable recalls, ,

pursuant to Rule 92 of the Texas Rules of Civil Procedure, GM LLC denies each and every material

allegation contained in the Petition, demands strict proof thereof, and to the extent such matters




GENERAL MOTORS LLC’S OBJECTIONS,
SPECIAL EXCEPTIONS, AND ORIGINAL ANSWER                                                        PAGE 1
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are questions of fact, says Plaintiff should prove such facts by a preponderance of the evidence to

a jury if he can do so.

                                                  III.
  SUBJECT TO OBJECTIONS AND SPECIAL EXCEPTIONS, GM LLC’S AFFIRMATIVE DEFENSES

         3.        Pleading further, alternatively, and by way of affirmative defense, GM LLC would

show the Court the accident in question and any alleged resulting injuries or damages were the

result of negligent acts and/or omissions of others and/or third parties beyond GM LLC’s control—

including, but not limited to, Plaintiff—whose acts or omissions were a proximate cause,

producing cause, sole proximate cause, or sole producing cause of the accident in question and any

alleged resulting injuries or damages. See TEX. CIV. PRAC. & REM. CODE § 33.001 et. seq.

         4.        Pleading further, alternatively, and by way of affirmative defense, GM LLC pleads

it is entitled to a presumption against liability, pursuant to Texas Civil Practice and Remedies Code

section 82.008(a).

         5.        Pleading further, alternatively, and by way of affirmative defense, GM LLC asserts

the limitations of damages recoverable as provided by applicable portions of the Texas Business

and Commerce Code (including but not limited, §§ 2.316 and 2.719); the Texas Civil Practice and

Remedies Code (including but not limited to Chapters 32, 33 and 38); the exclusion of implied

warranties as provided by applicable portions of the Texas Business and Commerce Code

(including, but not limited to, § 2.316); and any other applicable statute or rule of law, and any

other applicable affirmative defenses contained in the Texas Business and Commerce Code and

the Texas Civil Practice & Remedies Code.

         6.        Pleading further, alternatively, and by way of affirmative defense, the subject

vehicle complied with Federal Motor Vehicle Safety Standards and other applicable federal



GENERAL MOTORS LLC’S OBJECTIONS,
SPECIAL EXCEPTIONS, AND ORIGINAL ANSWER                                                      PAGE 2
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requirements as they relate to the alleged defects asserted in this case. Accordingly, GM LLC

pleads Plaintiff’s claims may be barred in whole or in part by the doctrine of federal preemption.

         7.        Pleading further, alternatively, and by way of affirmative defense, GM LLC states

in the unlikely event that an adverse judgment would be rendered against it, GM LLC is entitled

to all available credits and/or offsets as provided by the Texas Civil Practice & Remedies Code

and under Texas law.

         8.        Pleading further, alternatively, and by way of affirmative defense, GM LLC

contends that any claims for medical or health care expenses are limited to the amount actually

paid or incurred by or on behalf of Plaintiff pursuant to Texas Civil Practice and Remedies Code

§ 41.0105.

         9.        Pleading further, alternatively, and by way of affirmative defense, GM LLC states

that, pursuant to § 18.091 of the Texas Civil Practice and Remedies Code, to the extent Plaintiff is

seeking recovery for loss of earnings, lost wages, loss of earning capacity, loss of inheritance,

and/or loss of contributions of a pecuniary value, Plaintiff must present evidence of the alleged

loss in the form of a net loss after reduction for income tax payments or unpaid tax liability

pursuant to any federal income tax law.

         10.       Pleading further, alternatively, and by way of affirmative defense, GM LLC asserts

that any claims brought by Plaintiff are barred by the applicable statute of limitations.

                   Pleading further, alternatively, and by way of affirmative defense, GM LLC states

that to the extent Plaintiff failed to maintain or preserve the subject vehicle and/or its component

parts in their immediate post-accident condition, such party may be responsible for spoliation and

Plaintiff may not maintain an action against GM LLC.




GENERAL MOTORS LLC’S OBJECTIONS,
SPECIAL EXCEPTIONS, AND ORIGINAL ANSWER                                                      PAGE 3
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         12.       GM LLC hereby gives notice that it intends to rely upon such other defenses or

denials as may become available or appear during discovery as it proceeds in this matter, and

hereby reserves the right to amend its Answer to assert such defenses.

                                                  III.
                                             JURY DEMAND

         13.       GM LLC respectfully demands a jury for the trial of this matter.

                                                   IV.
                                                PRAYER

         Defendant GM LLC respectfully requests that Plaintiff take nothing by reason of this suit;

that GM LLC recover its costs herein expended; and for such other and further relief, both at law

and in equity, to which GM LLC may be justly entitled.

                                                Respectfully submitted,


                                                /s/ Deron L. Wade
                                                DERON L. WADE
                                                State Bar No. 24008220
                                                E-Mail: dwade@dykema.com
                                                REBEKAH L. HUDGINS
                                                State Bar No. 24101960
                                                E-Mail: rhudgins@dykema.com
                                                DYKEMA GOSSETT PLLC
                                                1717 Main Street, Suite 4200
                                                Dallas, Texas 75201
                                                Telephone: (214) 462-6400
                                                Facsimile: (214) 462-6401

                                                ATTORNEYS FOR DEFENDANT
                                                GENERAL MOTORS LLC




GENERAL MOTORS LLC’S OBJECTIONS,
SPECIAL EXCEPTIONS, AND ORIGINAL ANSWER                                                    PAGE 4
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                                 CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document wasth served on all
counsel of record according to the Texas Rules of Civil Procedure on this the 18 day of June,
2021.

                                            /s/ Deron L. Wade
                                            DERON L. WADE




GENERAL MOTORS LLC’S OBJECTIONS,
SPECIAL EXCEPTIONS, AND ORIGINAL ANSWER                                                  PAGE 5
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                                    Cause No. 096-325062-21

BRUCE MCCOY,                                  §              IN THE DISTRICT COURT
    Plaintiff,                                §
                                              §                 TH
vs.                                           §              96      JUDICIAL COURT
                                              §
GENERAL MOTORS LLC, and                       §
ED MORSE AUTOMOTIVE LLC,                      §
     Defendants.                              §              TARRANT COUNTY, TEXAS

                     DEFENDANT ED MORSE AUTOMOTIVE LLC’S
                              ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant Ed Morse Automotive, LLC d/b/a Freedom Chevrolet Buick

GMC by Ed Morse (“Defendant”) and files this its Original Answer, and would respectfully show

the Court as follows:

                                         General Denial

        Pursuant to Rule 92, Defendant exercises its right to deny generally, each and every, all

and singular the allegations of the Plaintiff’s Original Petition and all amendments and

supplements thereto and demands strict proof thereof.

                                      Affirmative Defenses

        Defendant seeks indemnity from the manufacturer.

        WHEREFORE, Defendant prays that this matter be set for hearing, that upon hearing, the

Court enter a take nothing judgment against Plaintiff, tax all costs of court against Plaintiff, and

grant such other and further relief, in law or in equity, to which they may show themselves to be

justly entitled.




DEFENDANT ED MORSE AUTOMOTIVE, LLC’S ORIGINAL ANSWER -                                            1
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                                           Respectfully submitted,

                                           CLARK, MALOUF & WHITE, L.L.P.

                                           By:     /s/ Tom C. Clark
                                                   Tom C. Clark
                                                   State Bar No. 04298750
                                                   Direct: (214) 559-4411
                                                   E-mail: tom@cmwattorneys.com

                                                   12222 Merit Drive, Ste. 340
                                                   Dallas, Texas 75251
                                                   (214) 559-4400
                                                   (214) 559-4466 - fax

                                           ATTORNEYS FOR DEFENDANT
                                           Ed Morse Automotive, LLC d/b/a Freedom
                                           Chevrolet Buick GMC by Ed Morse


                               CERTIFICATE OF SERVICE
                                     st
       I hereby certify that on the 21 day of June 2021, a true and correct copy of the above
foregoing document was served in accordance with Rule 21a of the Texas Rules of Civil Procedure
via e-mail through the EFM.

                                                   /s/ Tom C. Clark
                                                   Tom C. Clark




DEFENDANT ED MORSE AUTOMOTIVE, LLC’S ORIGINAL ANSWER -                                       2
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                                 CAUSE NO. 096-325062-21


BRUCE MCCOY,                                        §      IN THE DISTRICT COURT
Plaintiff                                           §
                                                    §
vs.                                                 §      TARRANT COUNTY,
                                                    §      TEXAS
                                                    §
GENERAL MOTORS LLC, and                             §      96TH JUDICIAL DISTRICT
FREEDOM CHEVROLET
BUICK GMC BY ED MORSE.,
Defendants




             PLAINTIFF’S FIRST AMENDED PETITION WITH ATTACHED
                    REQUESTS FOR DISCLOSURE TO DEFENDANT


TO THE HONORABLE JUDGE OF SAID COURT:
       NOW COMES BRUCE MCCOY, hereinafter called Plaintiff, complaining of and about

GENERAL MOTORS and BUICK GMC BY ED MORSE., hereinafter called Defendants, and

for cause of action shows unto the Court the following:


                                               I.

                          DISCOVERY CONTROL PLAN LEVEL
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       Plaintiff intends that discovery be conducted under Discovery Level 2. Plaintiff intends

that discovery be conducted under Discovery Level 2 as dictated by Rule 190.3 Texas Rules of

Civil Procedure.


                                                 II.

                                     PARTIES SERVICE




       Plaintiff BRUCE MCCOY is an individual residing in Dallas, County.




       Defendants are GENERAL MOTORS LLC., may be served through their registered
                                            th
agent of service CT Corporation at 211 E. 7      Street, Suit 620 Austin, Texas 78701-4234 USA.

ED MORSE AUTOMOTIVE LLC., may be served through their registered agent of service CT

Corporation at 1999 Bryan St. STE 900 Dallas, Texas 75201-3140 USA.




                                                 III.
                                JURISDICTION AND VENUE


       The subject matter in controversy is within the jurisdictional limits of this court. Venue

in Tarrant County is proper in this cause under Section 15.002(a)(1) of the Texas Civil Practice

and Remedies Code because all the events giving rise to this claim occurred in Tarrant County.



                                                 IV.
                                              FACTS
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       At approximately 3:47 a.m. on May 5, 2019, BRUCE MCCOY was driving Southbound

in the 7500 Block of S HWY 360 in the #2 lane when the vehicle’s ECM and the Transmissions

Accumulator Bolts Malfunctioned, causing him to suddenly lose control of his vehicle and

collide with the guard rail on the East side of the roadway. The impact was so severe that it

caused Mr. McCoy to blackout from the sever collision into the guardrail.


                                                V.
                                      PROPERTY DAMAGE


       The property damage to the vehicle the Plaintiff was driving was so extensive that it had

to be towed from the scene.

                                                VI.
 LIABILITY OF GENERAL MOTORS, LLC. AND FREEDOM CHEVORLET BUICK
                        GMC BY ED MORSE


       GENERAL MOTORS LLC., and ED MORSE AUTOMOTIVE LLC., are liable to the

Plaintiff due to the fact that they placed a defective vehicle in the chain of commerce.

GENERAL MOTORS LLC., and ED MORSE AUTOMOTIVE LLC., caused this catastrophic

incident due to the following acts:


           a. Intentionally placing a defective vehicle into the chain of commerce;

           b. Failing to properly notify the plaintiff of defective vehicle;

           c. Failing to timely issue a recall when, they had knowledge of such defect.



                                               VII.
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                                          DAMAGES



    As a result, Plaintiff has suffered injury including the following:

       a. Lost Wages, including lost benefits;

        b. Physical Pain in the past;

        c. Physical Pain in the future;

        d. Mental Anguish in the past;

        e. Mental Anguish in the future;

       f. Physical Impairment in the past and future;

       g. Disfigurement;

        h. Medical Expense in the Past;

        i. Medical Expense in the Future;

       j.   Prejudgment Interest;

        k. Post judgment Interest;

        l. Costs of Court.



                                            VIII.
                                     JURY DEMAND
    Plaintiff herein demands a trial by jury.



                                                IX
                              FIRST CLAIM FOR RELIEF
                              Breach of Express Warranties
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       a. Plaintiff, individually, hereby incorporates each and every allegation as though

          fully set forth herein.

       b. General Motors breached its express warranties by offering for sale and selling

          defective vehicles that were by design and construction defective and unsafe,

          thereby subjecting the occupant of the vehicle to damages and risks of loss and

          injury.

       c. General Motors is under a continuing duty to inform its customers of the nature

          and existence of potential defects in the vehicles sold.

       d. For each vehicle sold by General Motors, an expressed written warranty was

          issued that covered the vehicle, which warranted the vehicle to be free of defects

          in materials and workmanship at the time of delivery.

       e. General Motors breached of its express warranties proximately caused the

          Plaintiff to suffer damages in excess of $1,000,000.00.




                                            X
                           SECOND CLAIM FOR RELIEF
                             Breach of Implied Warranties



       a. Plaintiff, individually, hereby incorporates each and every allegation as though

          fully set forth herein.

       b. General Motors impliedly warranted that the vehicles, which it designed,

          manufactured, sold, or leased to Plaintiff, were merchantable, fit and safe for their
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          ordinary use, not otherwise injurious to consumers, and would come with

          adequate safety warnings.

       c. Because the vehicle was equipped with defective electronic throttle control and/or

          accelerator pedal position sensors, the vehicle used by Plaintiff was unsafe, unfit

          for use when sold, threatened injury to its occupants, and was not merchantable.

          General Motors breached the implied warranty of merchantability to the Plaintiff,

          in that vehicles were not fit for their ordinary purpose and not merchantable.

       d. As a direct and proximate result of General Motor breach of implied warranty of

          merchantability and fitness for a particular purpose, Plaintiff suffered damages in

          excess of $1,000,000.00.

       e. General Motors is under a continuing duty to inform its customers of the nature

          and existence of potential defects in the vehicles sold.




                                           XI
                           THIRD CLAIM FOR RELIEF
                    Equitable Injunctive and Declaratory Relief


       a. The Deceptive Trade Practices Act prohibits the use of any “unfair or deceptive

          trade practice” in the sale or lease of any consumer goods or services.

       b. General Motors violated the Deceptive Trade Practices Act by, inter alia,

          engaging in the following unfair deceptive acts or practices:

                          Failing to disclose material facts that deceived and had the

                  tendency to deceive; and
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                          Engaging in deception, misrepresentation, or knowing

                 concealment, suppression, or omission of any material fact with the intent

                 that a consumer rely on the same in connection with: (I) the promotion or

                 sale of consumer goods or services; or (II) the subsequent performance of

                 a merchant with respect to an agreement of sale or lease.



                                           XII
                          FOURTH CLAIM FOR RELIEF
                       Deceptive Trade Practices Act (DTPA)



       a. General Motors violated the DTPA by concealing, suppressing or omitting

          material facts regarding the Vehicle, including, but not limited to, the fact that the

          Vehicle’s electronic throttle control and/or accelerator pedal position sensor are

          defective, that as a result of such defect, the Vehicle’s defective electronic throttle

          control and/or accelerator pedal position sensor fail prematurely, and that the

          const of replacing or repairing the defective electronic throttle control and/or

          accelerator pedal position is high. This concealed or omitted information is the

          type of information upon which a consumer would be expected to rely on in

          making a decision whether to purchase, or how much to pay for, the Vehicles.

       b. General Motors concealed, suppressed or omitted these material facts in

          conducing trade and commerce with the intent that Plaintiff would rely on the

          omissions in the purchase of the Vehicle.
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       c. General Motors intended that Plaintiff would rely on its concealment and

          omission of material facts, which occurred in the course of conduct involving

          trade and commerce.

       d. Defendants’ practices, acts, policies and course of conduct violated the DTPA’s

          prohibition on unfair and deceptive conduct in that:

                            At the time of sale, Defendant knowingly and intentionally omitted

                 and concealed material information regarding the Vehicle by failing to

                     disclose to Plaintiff the defective electronic throttle control and/or

                 accelerator pedal position sensors and the associated Engine Power

                     Reduced defect.

                2.          Thereafter, Defendant failed to disclose the defect to Plaintiff,

                     through warnings, recall notices, and/or actively concealed from them that

                     the Vehicle’s electronic throttle control and/or accelerator pedal position

                     sensors were defective, even though the company knew of such defects:

                     (1) at the time of manufacture, when it was created the electronic throttle

                     control and/or accelerator pedal position sensors in a manner unable to

                 provide for consistently stable driving; (2) from complaints to the National

                 Highway Traffic Safety Administration and to web forums actively

                     monitored by General Motors; (3) when, on information and belief,

                     General Motors internal analyses determined the ubiquity of the problem

                     upon learning that the accelerator pedal position sensors were on

                 backorder.
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              3.           Based on these and, upon information and belief, other internal

                   studies and investigations, Defendant knew with certainty that the

                   electronic throttle control and/or accelerator pedal position sensors on the

                   Vehicle would be compromised and that the vehicle would have the

                   Engine power Reduced defect.

              4.           Furthermore, Defendant engaged in materially misleading and

                   deceptive acts by continuing to sell the Vehicles to the consuming public

                   and to represent that these vehicles were in good working order,

                   merchantable, and not defective, despite Defendant's knowledge that the

                   vehicles would not perform as intended, repressed, and warranted and that

                   the above-described defects would cause purchasers to incur significant

                   out-of-pocket costs and expenses.

              5.           Defendants’ acts and omissions are unfair in that they (1) offend

                   public policy; (2) are immoral, unethical, oppressive, or unscrupulous; and

                   (3) cause substantial injury to consumers. Defendant has, through

                   knowing, intentional, material omissions, concealed the true defective

                   nature of the Vehicle.

              6.           Defendants’ acts and omissions are also unfair in that they caused

                   substantial injury to consumers far in excess of conceivable benefit; and

                   are injuries or nature that they could not have been reasonably avoided by

                   consumers.
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                           Plaintiff seeks restitution of the substantial sums of money

                  expended to diagnose and repair, which Defendant knew about prior to

                  their sale.



                                           XII
                                FIFTH CLAIM FOR RELIEF
                                    Unjust Enrichment


       a. Plaintiff incorporates by reference the allegations contained in the preceding

          paragraphs of this Complaint to the extent not inconsistent with the claims

          asserted in this Count.

       b. By its wrongful acts and omissions described herein, including selling a Vehicle

          with defective electronic throttle control and/or accelerator pedal position sensors,

          General Motors was unjustly enriched at the expense of Plaintiffs.

       c. Plaintiff conferred a benefit upon General Motors by purchasing the Vehicles at

          the full price for fully functional vehicles equipped with appropriate and working

          electronic throttle control and/or accelerator pedal positions sensors.

       d. General Motors knew that Plaintiff would purchase the Vehicle and still accepted

          the sum contemplated for fully functional vehicles equipped with appropriate and

          working electronic throttle control and/or accelerator pedal position sensors.

       e. Under the circumstances it would be inequitable for General Motors nor Ed

          Morse to retain the profits benefits, and other compensation obtained through its

          wrongful conduct in manufacturing, marketing and selling the Vehicles with

          defective electronic throttle control and/or accelerator pedal position sensors to
  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                 Page 37 of 48 PageID 41



               Plaintiff. Natural justice and equity require that Plaintiff recover under the

               circumstances.

               Plaintiff, seeks restitution from General Motors and Ed Morse, and an order of

               this Court proportionally disgorging all profits, benefits, and other compensation

               wrongly obtained by General Motors for its conduct.




                                               XIII
                                            PRAYER


       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final hearing

hereof, Plaintiff have:




              Judgment against Defendants for the actual and special damages suffered by
              Plaintiff as a result of Defendants’ conduct, in an amount in excess of the
              minimum jurisdictional limits of the Court;
           2. For an order awarding actual, statutory, punitive, and/or any other form of
              damages.
           3. Prejudgment and Post Judgment interest as provided by law;

           4. Such other further relief to which Plaintiff may show himself justly entitled.

           5. For an order awarding Plaintiff reasonable attorney fees and costs of suit,

               including expert witness fees; and

           6. For an order awarding such other and further relief as this Court may deem just

               and proper
  Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                 Page 38 of 48 PageID 42



                                REQUEST FOR DISCLOSURE


TO DEFENDANTS: GENERAL MOTORS LLC., and FREEDOM CHEVROLET BUICK

GMC BY ED MORSE: Pursuant to Rule 194, you are requested to disclose, within 50 days of

service of this request, the information or materials described in Rule 194.2.




SIGNED on July 20, 2021
Respectfully submitted,


                                                     /s/ Arnesia B. Davis
                                                      Arnesia B. Davis
                                                     State Bar No. 24096363
                                                     a.davis@areuhrt.com


                                                     ARNESIA B. DAVIS, PLLC.
                                                     P.O. Box 1493
                                                     DeSoto, Texas 75115
                                                     Telephone (833) 273-8478
                                                     Facsimile (833) 273-8478


                                                     ATTORNEY FOR PLAINTIFF
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                                              CAUSE NO. 096-325062-21

 BRUCE MCCOY,                                                §     IN THE DISTRICT COURT OF
                                                             §
           Plaintiff,                                        §
                                                             §
 v.                                                          §
                                                             §               TARRANT COUNTY
 GENERAL MOTORS LLC and                                      §
 ED MORSE AUTOMOTIVE LLC,                                    §
                                                             §
           Defendants.                                       §          96TH JUDICIAL DISTRICT

             MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL

          Defendant Ed Morse Automotive LLC d/b/a Freedom Chevrolet Buick GMC by Ed Morse

(“Ed Morse Automotive”) and its undersigned counsel file this Motion for Withdrawal and

Substitution of Counsel (the “Motion”) and in support thereof would respectfully show the Court

as follows:

                              Defendant Ed Morse Automotive is presently represented by Tom C. Clark

          and the law firm Clark, Malouf & White, L.L.P. in Dallas, Texas.

                    2.        Defendant Ed Morse Automotive requests that Tom C. Clark and the law

          firm Clark, Malouf & White, L.L.P. be allowed to withdraw herein as attorneys of record

          for Ed Morse Automotive and that Deron L. Wade, State Bar No. 24008220, and Rebekah

          L. Hudgins, State Bar No. 24101960, and the law firm of Dykema Gossett PLLC, 1717

          Main Street, Suite 4200, Dallas, Texas 75201, (214) 462-6400 (telephone), (214) 462-6401

          (facsimile) be substituted in as counsel of record.

                    3.        This Motion is made with the approval of Ed Morse Automotive and is not

          sought for delay, but so that justice may be done.

          WHEREFORE, Defendant Ed Morse Automotive requests this Motion for Withdrawal and

Substitution of Counsel be granted and that Tom C. Clark and the law firm Clark, Malouf & White,


MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL                                             PAGE 1
Mtn Withdrawal and Sub Counsel (McCoy) 4815-6691-4290 v.2.docx
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L.L.P. be allowed to withdraw and that Deron L. Wade, Rebekah L. Hudgins, and the law firm

Dykema Gossett PLLC be substituted in as counsel of record.

                                                            Respectfully submitted,

                                                            /s/ Tom C. Clark
                                                            TOM C. CLARK
                                                            State Bar No. 04298750
                                                            Direct: (214) 559-4411
                                                            E-mail: tom@cmwattorneys.com
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                                                            Dallas, Texas 75251
                                                            (214) 559-4400
                                                            (214) 559-4466 - fax

                                                            ATTORNEYS FOR DEFENDANT
                                                            ED MORSE AUTOMOTIVE, LLC
                                                            D/B/A FREEDOM CHEVROLET
                                                            BUICK GMC BY ED MORSE




MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL                                                  PAGE 2
Mtn Withdrawal and Sub Counsel (McCoy) 4815-6691-4290 v.2.docx
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APPROVED:



/s/ Deron L. Wade
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Telephone: (214) 462-6400
Facsimile: (214) 462-6401

ATTORNEYS FOR GENERAL
MOTORS LLC

                                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document wasstserved on all
counsel of record according to the Texas Rules of Civil Procedure on this the 21 day of July,
2021.


                                                            /s/ Tom C. Clark (by permission)
                                                            TOM C. CLARK




MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL                                                  PAGE 3
Mtn Withdrawal and Sub Counsel (McCoy) 4815-6691-4290 v.2.docx
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                                     CAUSE NO. 096-325062-21

 BRUCE MCCOY,                                 §               IN THE DISTRICT COURT OF
                                              §
           Plaintiff,                         §
                                              §
 v.                                           §
                                              §                          TARRANT COUNTY
 GENERAL MOTORS LLC and                       §
 ED MORSE AUTOMOTIVE LLC,                     §
                                              §
           Defendants.                        §                  96TH JUDICIAL DISTRICT

                              ORDER GRANTING MOTION FOR
                        WITHDRAWAL AND SUBSTITUTION OF COUNSEL

         Before the Court is the Motion for Withdrawal and Substitution of Counsel (the “Motion”).

Having considered the Motion, the Court finds that the Motion should be and is hereby

GRANTED.

         Accordingly, it is hereby ORDERED, ADJUDGED, and DECREED that Tom Clark and

the law firm of Clark, Malouf & White, L.L.P. are withdrawn and Deron L. Wade and Rebekah

L. Hudgins and the law firm of Dykema Gossett PLLC are substituted in their place as counsel for

Defendant Ed Morse Automotive LLC d/b/a Freedom Chevrolet Buick GMC by Ed Morse.

         SIGNED this             day of                    , 2021.




                                                     JUDGE PRESIDING




ORDER GRANTING MOTION FOR
WITHDRAWAL AND SUBSTITUTION OF COUNSEL                                                    PAGE 1
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   Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21   Page 43 of 48 PageID 47



APPROVED:


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ATTORNEYS FOR DEFENDANT
ED MORSE AUTOMOTIVE, LLC D/B/A FREEDOM
CHEVROLET BUICK GMC BY ED MORSE

AND

/s/ Deron L. Wade
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ORDER GRANTING MOTION FOR
WITHDRAWAL AND SUBSTITUTION OF COUNSEL                                   PAGE 2
106069.001371 4844-7015-9090.1
 Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21                   Page 44 of 48 PageID 48




                                 CAUSE NO. 096-325062-21

 BRUCE MCCOY,                                               IN THE DISTRICT COURT OF

        Plaintiff,


                                                                       TARRANT COUNTY
 GENERAL MOTORS LLC and
 ED MORSE AUTOMOTIVE LLC,

        Defendants.                                            96TH JUDICIAL DISTRICT

                           ORDER GRANTING MOTION FOR
                     WITHDRAWAL AND SUBSTITUTION OF COUNSEL

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the law firm of Clark, Malouf & White, L.L.P. are withdrawn and Deron L. Wade and Rebekah

L. Hudgins and the law firm of Dykema Gossett PLLC are substituted in their place as counsel for

Defendant Ed Morse Automotive LLC d/b/, Freedom Chevrolet Buick GMC by Ed Morse.

       SIGNED this         iday of                        , 2021.




                                                   JUDGE PRESIDING Si                  by Assignment




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                                                                                                   --i
                                                                                       z
WITHDRAWAL AND SUBSTITUTION OF COUNSEL
 Case 4:21-cv-00979-P Document 1-1 Filed 08/19/21   Page 45 of 48 PageID 49




APPROVED:


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ED MORSE AUTOMOTIVE, LLC D/B/A FREEDOM
CHEVROLET BUICK GMC BY ED MORSE

AND

/s/Deron L. Wade
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WITHDRAWAL AND SUBSTITUTION OF COUNSEL
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                     Civil Case and Transaction Information                   08/11/2021 2:07 PM




         096               325062      Search     New Search



                                BRUCE MCCOY               GENERAL MOTORS LLC., ET AL
                  INJURY OR DAMAGE, OTHER PRODUCT LIABILITY
               PENDING


05-05-2021   PLTFS ORIG PET W/ATTACHED REQS FOR                               $289.00
             DISCL TO DEFN                                          N

05-05-2021   PAYMENT RECEIVED trans #1                                                      $289.00
                                                                    Y

05-05-2021   LTR RE CITS (EMAIL-FS)                                                           $0.00


05-05-2021   CIT-ISSUED ON GENERAL MOTORS LLC-                                  $8.00
             On 05/06/2021                                         N Svc

05-05-2021   CIT-ISSUED ON ED MORSE AUTOMOTIVE                                  $8.00
             LLC-On 05/06/2021                                     N Svc

05-05-2021   PAYMENT RECEIVED trans #5                                                        $8.00
                                                                    Y

05-05-2021   PAYMENT RECEIVED trans #4                                                        $8.00
                                                                    Y

06-02-2021   CIT TR# 5 RET EXEC(ED MORSE                                                      $0.00
             AUTOMOTIVE LLC) ON 0 6/02/2021

06-09-2021   CIT Tr# 4 RET EXEC(GENERAL MOTORS                                                $0.00
             LLC) On 05/28/2021

06-18-2021   GENERAL MOTORS LLC OBJ SPEC/EXC &                                                $0.00
             ORIG ANS
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06-18-2021   JURY FEE                                                 $40.00
                                                            N

06-18-2021   PAYMENT RECEIVED trans #11                                             $40.00
                                                            Y

06-21-2021   DEFN ED MORSE AUTOMOTIVE LLC'S                                          $0.00
             ORIG ANS

07-20-2021   PLTF'S 1ST AMD PET W/ATTACHED REQ                                       $0.00
             FOR DISC TO DEFN(NO +)

07-21-2021   MTN FOR W/D & SUB OF COUNSEL                                            $0.00


07-21-2021   (PROP) ORD GRANT MTN FOR W/D & SUB                                      $0.00
             OF COUNSEL

07-22-2021   ***ORD GRANT W/D & SUB OF COUNSEL                                       $0.00
                                                                M
